Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.1 Page 1 of 12



 1   KEITH H. RUTMAN (CSB #144175)
     501 West Broadway Ste 1650
 2   San Diego, California 92101-3541
     Telephone: (619) 237-9072
 3   Facsimile: (760) 454-4372
     email: krutman@krutmanlaw.com
 4
     Attorney for Plaintiff
 5   PAMELA FOX KUHLKEN
 6
 7                             UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
 9   PAMELA FOX KUHLKEN,                             )      Case No. '16CV2504 CAB DHB
                                                     )
10                               Plaintiff,          )      COMPLAINT FOR DAMAGES;
                                                     )      DEMAND FOR JURY TRIAL
11   v.                                              )
                                                     )
12   COUNTY OF SAN DIEGO,                            )
     SAN DIEGO SHERIFFS DEPUTY                       )
13   D. SMITH (Id. # 1924) and DOES 1-5,             )
                                                     )
14                         Defendants.               )
                                                     )
15
16            COMES NOW Plaintiff PAMELA FOX KUHLKEN, by and through her
17   attorney of record, and hereby alleges:
18            This lawsuit for money damages is brought pursuant to the provisions of 42
19   U.S.C. § 1983 due to violations by Defendants of Dr. FOX’s constitutional rights under
20   the Fourth Amendment to the U.S. Constitution. Supplemental claims are also brought
21   pursuant to California law.
22                                            JURISDICTION
23   1        Federal jurisdiction is founded upon the existence of a federal question, the Civil
24   Rights Act, 42 U.S.C. § 1983 and lies under 28 U.S.C. § 1331. The remaining causes
25   of action arise under the supplemental jurisdiction of this Court and lie under 28 U.S.C.
26   § 167.
27   ///
28   ///
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.2 Page 2 of 12



 1                                           VENUE
 2   2      Venue in the Southern District of California is proper because the injuries to Dr.
 3   FOX occurred herein and further because the Defendants are believed to reside in said
 4   district.
 5                                          PARTIES
 6   3      Plaintiff PAMELA FOX KUHLKEN (hereinafter “FOX”) was at all material
 7   times mentioned herein was a resident of the City of La Mesa, in the State of
 8   California.
 9   4      Defendant COUNTY OF SAN DIEGO ("the COUNTY") is and was at all times
10   mentioned herein a political sub-division of the State of California and is the employer
11   of Defendants SAN DIEGO SHERIFFS DEPUTY D. SMITH (Id. # 1924) and DOES
12   1-5, who performed all of the herein alleged acts for, and in the name of, the
13   COUNTY.
14   5      At all material times mentioned herein, Defendant SAN DIEGO SHERIFFS
15   DEPUTY D. SMITH (Id. # 1924) and DOES 1-5 (collectively referred to as the
16   Defendant Officers) were duly constituted law enforcement officers employed by the
17   COUNTY Sheriff’s Department and are charged with administering and maintaining
18   laws in the jurisdiction of the COUNTY OF SAN DIEGO and State of California.
19   Thus, they were the agents, servants, and/or employees of the COUNTY OF SAN
20   DIEGO and in doing the acts herein alleged, were acting within the course and scope of
21   their agency and/or employment, and with the permission, consent and authority of the
22   COUNTY OF SAN DIEGO. The acts of the Defendant Officers were also done under
23   the color and pretense of the statutes, ordinances, regulations, customs and usages of
24   the State of California. The Defendant Officers are sued individually and in their
25   capacity as peace officers for the COUNTY OF SAN DIEGO.
26   6      Prior to the filing of this complaint and on or about August 8, 2016, Dr. FOX
27   filed a written claim with the COUNTY OF SAN DIEGO for the injuries alleged
28   herein as required by, inter alia, California Government Code §§ 905, 905.2 and 945.4.

                                                 2
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.3 Page 3 of 12



 1   On September 20, 2016, by written letter, her claims were rejected in writing. The
 2   administrative claims process need not be followed as a prerequisite to bringing suit as
 3   to the claims brought under 42 U.S.C. § 1983. Patsy v. Board of Regents, 457 U.S.
 4   496 (1982); Heath v. Cleary, 708 F.2d 1376, 1378 (9th Cir. 1983).
 5                                GENERAL ALLEGATIONS
 6   7     Dr. PAMELA FOX KUHLKEN is a writer and a professor of Religious Studies
 7   and English Literature at San Diego State University.
 8   8     This complaint stems from an incident that took place on the morning of
 9   February 21, 2016 in the parking lot of Epic Volleyball Club in Poway, California.
10   9     At approximately 9:00 a.m., Plaintiff dropped her daughter off at Epic for a
11   volleyball tournament. Because the parking lot was full she sat in her car near Epic's
12   entrance waiting for a parking space to become available.
13   10    After a few minutes she saw a space open up and began pulling into the spot.
14   After her car was partway into the spot a man walked up and stood in front of the car,
15   which she immediately shifted into park. When she asked him to move out of the way
16   he sat down right in front of her car and then laid down on his back and slid his feet
17   under her car. Before she could react a woman arrived in a white Infinity SUV and
18   double-parked behind another car. She got out of her SUV, launched into screaming at
19   her to get out of her way and next shouted, "What are you doing to my husband? Are
20   you trying to kill my husband? You're going to run him over?" She then began circling
21   her car apparently taking pictures or video with her phone. When she was done she
22   announced, "I'm calling the police." FOX rolled up her windows, locked her car door
23   and called 911.
24   11    While she was on the phone with the 911 dispatcher the woman walked to the
25   front of her car and started kicking her bumper and yelling. FOX rolled her window
26   down and yelled at her to stop. FOX told the 911 dispatcher what was happening,
27   provided her with the SUV's license plate number, and asked what she should do next.
28   The dispatcher instructed her to back up, park somewhere else and walk back to Epic to

                                                 3
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.4 Page 4 of 12



 1   wait for a deputy. FOX complied.
 2   12    When FOX walked back to Epic she was relieved to see there was already a
 3   Sheriff's SUV on scene parked next to the Infinity. It was Deputy D. SMITH. FOX
 4   approached him and said, "Oh good, you're here in response to my call." Deputy
 5   SMITH got out of his SUV and said, "It's all one situation, right?" About this time
 6   FOX noticed two additional police cars, an ambulance and a firetruck (both with their
 7   lights and sirens on) driving into Epic's parking lot.
 8   13    FOX asked Deputy Smith if he was responding to her 911 call for help regarding
 9   the couple that was blatantly attempting to stage some sort of fraud. Deputy Smith's
10   response was simply to demand identification. Stunned, she said, "Excuse me? I
11   called for help because they were attacking my car and you are defending them without
12   hearing my side?" Deputy SMITH answered with, "Do you want to be tazed?! Hand
13   me your ID." FOX replied, "I'm sure you can't taze me for just standing here. I called
14   you for help." Deputy SMITH then said, "Hand me your purse." Still stunned and
15   baffled FOX said she wasnt aware she was required to hand over her property to the
16   law without any reason. Deputy SMITH responded by repeating his threat to taze her.
17   She again told him she had called the police for help. Deputy SMITH immediately
18   grabbed the purse hanging on her shoulder.
19   14    Instinctively FOX held tight to her purse as Deputy SMITH attempted to pry her
20   fingers off and snatch her purse away. All the while FOX was imploring with him that
21   she was the aggrieved party and the person who needed assistance.
22   15    Nevertheless, Deputy SMITH pinned her hands behind her back and shackled
23   her in handcuffs. When he saw that her hand had slipped out of one of the handcuffs
24   he threw her to the asphalt injuring her head, shoulder, hip and both knees. At this
25   point she was terrified and scrambled to her feet, whereby Deputy SMITH solicited the
26   assistance of a large, muscular civilian who was standing nearby. Deputy SMITH and
27   this other man together tackled her, pinned her to the ground and again handcuffed her,
28   this time very tightly. She immediately told Deputy SMITH that the cuffs were

                                                  4
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.5 Page 5 of 12



 1   extremely tight and asked him to please loosen them. Rather than loosening the cuffs
 2   Deputy SMITH hoisted her to her feet, locked her in the back of his SUV and walked
 3   away. It was another hour or so before he returned.
 4   16    All of this occurred in front of a crowd of onlookers, many of whom Dr. FOX
 5   will see again and again at her daughter's volleyball tournaments.
 6   17    Eventually, around 10:30 a.m., Deputy SMITH came back only to demand
 7   FOX's daughter's name. All she could manage was to continue to beg him to loosen
 8   the handcuffs. Deputy SMITH ignored her pleas, responding instead with, "So you're
 9   refusing to answer my questions. Tell me your daughter's name." She did not give him
10   her name; and again beseeched him to loosen the handcuffs, explaining that she was a
11   writer and was concerned about getting nerve damage from the cuffs. Deputy SMITH
12   continued to ignore her requests and continued his interrogation.
13   18    She refused to answer his questions until he loosened the handcuffs. Deputy
14   SMITH ultimately told me the cuffs would only be loosened at the station. She
15   responded, "I actually can't wait. Please do it now." Deputy SMITH refused and drove
16   to the station, all the while refusing to tell her why she was being arrested.
17   19    When they got to the station Deputy SMITH went inside leaving her, still locked
18   in the painful handcuffs, in the back of his SUV. After 10-15 minutes Deputy SMITH,
19   Deputy Peterson and a female deputy came and ordered her out of the vehicle. Again
20   she asked the three Deputies to loosen the handcuffs, but was again ignored. The three
21   officers escorted her inside the station.
22   20    After five minutes the same female deputy returned, searched her and took her
23   photographs, at which time the cuffs were removed as she was ushered into a holding
24   cell. Throughout this time deputies continued to question here, despite the fact that
25   she had not yet been advised of her Miranda rights or the basis for the arrest.
26   21    At approximately 11:30 a.m., Deputy Peterson came into her holding cell and
27   told her that three independent witnesses confirmed that the man sat, then lay down and
28   then slid his feet under her car and faked the assault. He informed her that the charges

                                                  5
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.6 Page 6 of 12



 1   of attempted manslaughter and assault with a deadly weapon were being dropped and
 2   she would not be booked into jail.
 3   22     She assumed she would be released and that the couple would be arrested. She
 4   was wrong.
 5   23     She asked Deputy Peterson why she was still in custody. He said, "In the State
 6   of California, when a peace officer asks for your name and identification, you have to
 7   provide that information to him or it's a crime." This is not a correct statement of the
 8   law; the clearly established law is just the opposite. She told him she didn't know that
 9   and asked him why Deputy SMITH hadn't told her, adding that she certainly would
10   have provided her ID had Deputy SMITH merely told her so.
11   24     At about 11:40 a.m., Deputy SMITH came to her holding cell and advised her of
12   her Miranda rights. He then said she would be booked in jail unless she answered his
13   questions. She answered his questions and he left. Approximately 30 minutes later she
14   returned with a document for her to sign. After she signed it she was taken out of the
15   cell, given back her purse, driven back to Epic and released.
16   25     The very next evening, while at her boyfriend's home, without warning (and for
17   the first time in her life) he suddenly lost consciousness, fell and split her head open on
18   the concrete floor. She was rushed in an ambulance to the Surgical Intensive Care Unit
19   (bypassing the ER) where she was diagnosed with at least a concussion and intracranial
20   hemorrhaging, in addition to a significant amount of blood loss. The wound on her
21   forehead required two layers of stitches to close. Because of the severity of her injuries
22   she had to remain at the hospital for two nights and needed an additional three weeks
23   of constant monitoring. Three months after the incident she continued to suffer from
24   dizzy spells, headaches and other ongoing medical and life problems stemming from
25   the fall.
26   26     Dr. FOX continues to suffer from numbness, pain and weakness in her wrists.
27   Since the incident she still has trouble balancing and is often shaky. She had to quit her
28   preferred yoga practice and switch to an easier method. She noticed she stutters when

                                                  6
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.7 Page 7 of 12



 1   teaching. She has treated with a psychiatrist for escalated anxiety and PTSD. She also
 2   broke up with her boyfriend of almost 7 years for no reason other than anxiety. She
 3   regularly (weekly) sees acupuncturists, chiropractors, and massage therapists and
 4   listens to subliminal hypnotherapy to sleep every night.
 5   27    At no point in time did Dr. FOX act suspiciously, give elusive answers, obstruct
 6   or delay an officer in the performance of his official duties, disturb the peace, or refuse
 7   to cooperate in a manner which was not lawfully within her constitutional rights. She
 8   did not strike, attempt to strike, resist, or take flight or commit any illegal acts or
 9   otherwise engage in conduct which in any way justified the actions of the Defendant
10   Officers.
11   28    Dr. FOX’s detention was unreasonably prolonged without any reasonable
12   suspicion to do so. Dr. FOX was arrested without any probable cause to believe she
13   was subject to arrest. No reasonable officer in the possession of the information known
14   to the Defendant Officers would have believed that Dr. FOX was subject to arrest or a
15   prolonged detention.
16   29    Dr. FOX was subjected to excessive and unreasonable force in attempting to
17   effectuate her detention and arrest, as there was no reason to use any force at all.
18   30    No reasonable officer in the possession of the information known to Defendants
19   would have believed that they were entitled to use handcuffs on Dr. FOX's person. No
20   reasonable officer would have applied handcuffs on Dr. FOX's person in such a way as
21   to cause physical pain.
22                         FIRST CLAIM FOR RELIEF
                                42 U.S.C. § 1983
23                 UNREASONABLE SEIZURE (DETENTION/ARREST)
                         AGAINST D. SMITH and DOES 1-5
24
25   31    Plaintiff refers to and incorporates by reference Paragraphs 1 through 30 as
26   though fully set forth herein.
27   32    In committing the acts alleged herein, the Defendant Officers violated, without
28   probable cause, reasonable suspicion, consent, exigent circumstances or other defense,

                                                   7
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.8 Page 8 of 12



 1   Dr. FOX’s clearly established constitutional right under the Fourth Amendment to the
 2   United States Constitution to be secure in her person from unreasonable government
 3   intrusion, including false arrest/unreasonable detention. These rights were clearly
 4   established at the time. For these reasons, Dr. FOX is entitled to seek damages
 5   pursuant to Title 42 U.S.C. §1983, et seq.
 6   33     A reasonably prudent officer would have known that Dr. FOX was not subject to
 7   arrest or a prolonged detention.
 8   34     By reason of the acts alleged above, Dr. FOX did sustain great emotional distress
 9   and shock and injury to her person and nervous system, all to her damages in an
10   amount to be proven at trial.
11   35     As a direct and proximate result of the acts and omissions alleged herein, Dr.
12   FOX is entitled to general and special damages from the Defendant Officers in an
13   amount to be proven at trial.
14   36     In doing the acts alleged herein the Defendant Officers acted maliciously and
15   with reckless and callous disregard for the rights and feelings of Dr. FOX and by
16   reason thereof Dr. FOX demands exemplary and punitive damages in an amount to be
17   proven at trial.
18                             SECOND CLAIM FOR RELIEF
                                    42 U.S.C. § 1983
19                      UNREASONABLE SEIZURE (EXCESSIVE FORCE)
                             AGAINST D. SMITH and DOES 1-5
20
21   37     Plaintiff refers to and incorporates by reference Paragraphs 1 through 30 as
22   though fully set forth herein.
23   38     In committing the acts alleged herein, the Defendant Officers violated, without
24   any defense, Dr. FOX’s clearly established constitutional right under the Fourth
25   Amendment to the United States Constitution to be secure in her person from the use of
26   unreasonable and excessive force, in that the force applied to arrest/detain Dr. FOX
27   was in contravention of constitutional and statutory duty, was in excess of any force
28   required to address the circumstances, was grossly out of proportion to any need for

                                                  8
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.9 Page 9 of 12



 1   force, was not employed in good faith, and was intended and substantially certain to
 2   cause serious bodily injury. These rights were clearly established at the time. For
 3   these reasons, Dr. FOX is entitled to recover damages pursuant to Title 42 U.S.C.
 4   §1983, et seq.
 5   39       "[W]here there is no need for force, any force used is constitutionally
 6   unreasonable." Headwaters Forest Def. v. County. of Humboldt, 240 F.3d 1185, 1199
 7   (9th Cir.2000), vacated on other grounds, 534 U.S. 801 (2001). A reasonably prudent
 8   officer would have known that Dr. FOX was not subject to any, let alone excessive,
 9   force.
10   40       Handcuffing "substantially aggravates the intrusion and aggressiveness" of a
11   detention. See U.S. v. Bautista, 684 F.2d 1286, 1289 (9th Cir.1982).
12   41       The Ninth Circuit has held that excessively tight handcuffing can constitute a
13   Fourth Amendment violation, where a person was demonstrably injured by the
14   handcuffs or their complaints about the handcuffs being too tight were ignored by the
15   officers. See e.g., Wall v. County of Orange, 364 F.3d 1107, 1109-12 (9th Cir. 2004);
16   LaLonde v. County of Riverside, 204 F.3d 947, 952, 960 (9th Cir. 2000)(arrestee
17   complained to officer who refused to loosen handcuffs); Palmer v. Sanderson, 9 F.3d
18   1433, 1434-36 (9th Cir. 1993)(arrestee's wrists were discolored and officer ignored his
19   complaint); Hupp v. City of Walnut Creek, 389 F.Supp.2d 1229, 1232-33 (N.D. Cal.
20   2005). This is what happened in this case.
21   42       By reason of the acts alleged above, Dr. FOX did sustain great emotional distress
22   and shock and injury to her person and nervous system, all to Dr. FOX’s damages in an
23   amount to be proven at trial.
24   43       As a direct and proximate result of the acts and omissions alleged herein, Dr.
25   FOX is entitled to general and special damages from the Defendant Officers in an
26   amount to be proven at trial.
27   44       In doing the acts alleged herein the Defendant Officers acted maliciously and
28   with reckless and callous disregard for the rights and feelings of Dr. FOX and by

                                                   9
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.10 Page 10 of 12



 1   reason thereof Dr. FOX demands exemplary and punitive damages in an amount to be
 2   proven at trial.
 3                             THIRD CLAIM FOR RELIEF
                          NEGLIGENCE, UNDER CALIFORNIA LAW
 4                                ALL DEFENDANTS
 5   45       Plaintiff refers to and incorporates by reference Paragraphs 1 through 30 as
 6   though fully set forth herein.
 7   46       By the acts alleged above, the Defendant Officers were negligent and breached
 8   their duty of due care owed to Dr. FOX, thereby causing the injuries and severe
 9   emotional distress as described in the aforementioned Factual Allegations. Dr. FOX is
10   therefore entitled to general and compensatory damages in an amount to be proven at
11   trial.
12   47       By reason of the acts alleged above, Dr. FOX did sustain great emotional distress
13   and shock and injury to her person and nervous system, all to Dr. FOX’s damages in an
14   amount to be proven at trial.
15   48       As a direct and proximate result of the acts and omissions alleged herein, Dr.
16   FOX is entitled to general and special damages from the Defendants in an amount to be
17   proven at trial.
18                            FOURTH CLAIM FOR RELIEF
                         FALSE ARREST UNDER CALIFORNIA LAW
19                                ALL DEFENDANTS
20   49       Plaintiff refers to and incorporates by reference Paragraphs 1 through 30 as
21   though fully set forth herein.
22   50       By the acts alleged herein, particularly the act of the Defendant Officers
23   arresting and/or detaining Dr. FOX without a warrant or probable cause or reasonable
24   suspicion, Dr. FOX was falsely arrested, entitling her to damages pursuant to
25   California law.
26   51       By reason of the acts alleged above, Dr. FOX did sustain great emotional distress
27   and shock and injury to her person and nervous system, all to Dr. FOX’s damages in an
28   amount to be proven at trial.

                                                   10
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.11 Page 11 of 12



 1   52      As a direct and proximate result of the acts and omissions alleged herein, Dr.
 2   FOX is entitled to general and special damages from the Defendants in an amount to be
 3   proven at trial.
 4   53      In doing the acts alleged herein the Defendants acted maliciously and with
 5   reckless and callous disregard for the rights and feelings of Dr. FOX and by reason
 6   thereof Dr. FOX demands exemplary and punitive damages in an amount to be proven
 7   at trial.
 8                              FIFTH CLAIM FOR RELIEF
                            BATTERY UNDER CALIFORNIA LAW
 9                                  ALL DEFENDANTS
10   54      Plaintiff refers to and incorporates by reference Paragraphs 1 through 30 as
11   though fully set forth herein.
12   55      By reason of the intentional acts of Defendants, Dr. FOX was unlawfully
13   subjected to excessive force, assault and battery. In committing the acts alleged herein,
14   the Defendant Officers acted with extreme, precipitous, and unprovoked force which
15   was substantially certain to cause, and did cause physical and emotional injury to Dr.
16   FOX herein.
17   56      A reasonably prudent officer would have known that the use of any force on the
18   person of Dr. FOX, let alone excessive force, was completely unwarranted and
19   unlawful.
20   57      By reason of the acts alleged above, Dr. FOX did sustain great emotional distress
21   and shock and injury to her person and nervous system, all to Dr. FOX’s damages in an
22   amount to be proven at trial.
23   58      As a direct and proximate result of the acts and omissions alleged herein, Dr.
24   FOX is entitled to general and special damages from the Defendants in an amount to be
25   proven at trial.
26   59      In doing the acts alleged herein the Defendants acted maliciously and with
27   reckless and callous disregard for the rights and feelings of Dr. FOX and by reason
28   thereof Dr. FOX demands exemplary and punitive damages in an amount to be proven

                                                 11
Case 3:16-cv-02504-CAB-DHB Document 1 Filed 10/06/16 PageID.12 Page 12 of 12



 1   at trial.
 2                                    PRAYER FOR RELIEF
 3           WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 4           1.    For general and compensatory damages against Defendants in an amount
 5   to be proven at trial;
 6           2.    For exemplary and punitive damages against the Defendant Officers in an
 7   amount to be proven at trial;
 8           3.    For costs of suit herein, including reasonable attorneys fees pursuant to 42
 9   U.S.C. § 1988; and
10           4.    For such other and further relief as the Court deems proper.
11                                 DEMAND FOR JURY TRIAL
12           Plaintiff hereby demands a jury trial on all claims for relief.
13                                                   Respectfully Submitted,
14   Dated: October 6, 2016                          s/ Keith H. Rutman
                                                     KEITH H. RUTMAN
15                                                   Attorney for Plaintiff
                                                     Email: krutman@krutmanlaw.com
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   12
